Case 3:05-bk-03817-JAF Doc 2216 Filed 07/15/05 Pagei1of2

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA (JACKSONVILLE)

In re: , In Proceedings For A Reorganization Under
Chapter 11
Winn-Dixie Stores, Inc.

Case No. 3:05-bk-03817-JAF

Claim # Unknown
Debtors

NOTICE: OF TRANSFER OF CLAIM PURSUANT TO FRBP RULE 3001 (e) (1)

To transferor: DOBOY INC

36815 TREASURY CENTER
CHICAGO, IL 60694-6800

The transfer of your claim as shown above, in the amount of $ 716.61 has been transferred
(unless previously expunged by court order) to:

Trade-Debt.Net

P.O. Box 1487

West Babylon, NY 11704
No action is required if you do not object to the transfer of your claim. However, IF YOU
OBJECT TO THE TRANSFER OF YOUR CLAIM, WITHIN 20 DAYS OF THE DATE OF THIS NOTICE,
YOU MUST:

FILE A WRITTEN OBJECTION TO THE TRANSFER with:

United States Courthouse
300 North Hogan Street
Suite 3-350

Jacksonville, Florida 32202

SEND A COPY OF YOUR OBJECTION TO THE TRANSFEREE.
Refer to INTERNAL CONTROL NO. in your objection. If you file an objection, a
hearing will be scheduled.

IF YOUR OBJECTION IS NOT TIMELY FILED, THE TRANSFEREE WILL BE SUBSTITUTED ON OUR
RECORDS AS THE CLAIMANT

FOR CLERK'S OFFICE USE ONLY:

This notice was mailed to the first named party, by first class mail, postage prepaid
on ,200__.

INTERNAL CONTROL No.

Copy: (check) Claims Agent ___—s Transferee —— Debtor's Attorney __

Deputy Clerk

YUL-TE. 2000 3:47PM | -DOBOY INC. 719 246 6599 No-4149  P. I/1
Case 3:05-bk-03817-JAF Doc 2216 Filed 07/15/05 Page 2 of 2

Trade-Debt.net
PO Box 1487 .
West Babylon, NY 11708

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

Case No.05-11063(RDD)
Jointly Administered

Chapter 11

NOTICE OF TRANSFER OF CLAIM
OTHER THAN FOR SECURITY AND
WAIVER OF NOTICE.

RULE 3001 (¢X(1)

Winn-Dixie Stores, Inc.

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form {s evidence of tranafer of the claims, proofs and all ci thereundes. Transferos docs hereby waive
notice as described by Banknaptcy Rule 3001 (e) (1). “os . “

transferor to that of the transferee listed below.

DOBOY INC . .

36815 TREASURY CENTER CHICAGO IL 60694-6800 °

Please prot your seme Koya we (of Phila felon. Carrel .
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Tile _Credt doeceatiot Dex  J—H-OS”

Telephon} 5-243 - 27% seer Roxaue .Caktoll @ Dobsy .Com

Federal Taxpayer ID / Social Security Number_ 3G - suff 3595

Tranaferce: . .
P.O. BOX 1437. NY 11704
By: { 7 . WD 11801

